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                                                                                           9/12/2018
                            UM TED STATES DISTRICT COURT
                        FOR TH E W ESTERN DISTRICT OF VIRGINIA                         S/J.Vasquez
                                H AR R TSO N BUR G D IV ISIO N

    W R G INIA IND U STR IAL
    PLA STICS,IN C .,

           Plaintiff,
                                                          c ivila ction x o.    '
    V.                                                                           ,  ïTckfl19
    C ABIN ET SA V ER LL C
                                                          TR IA L BY JU RY D EM AN D ED
                   D efendant.

    Serve:Skyler Thom as
    3212 InletShore C t.
    V irginia Beach,V A 23451

                                             C O M PLM NT

           NOW COM EStheplaintiff,VirginialndustrialPlastics,lnc.(<tVlP''orçiplaintiff'),
    bycotmsel,andforitsComplaintagainstCabinetSaverLLC (CçDefen'danf'l>statesas
    follows:

                                              PA R TIES

                   V IP is a Virginia corporation w ith its principalplace ofbusiness in

    Fishersville,V irginia.

           2.      D efendantisa V irgirlia lim ited liability com pany w ith itsprincipalplace of

    business in V irginia Beach,V irginia.

                                  JUR ISD ICTIO N AN D VEN U E

           3.      ThisCourthassubjectmatterjurisdictionplzrsuantto 15U.S.C.jj 1116,
    1117,1121(a),and28U.S.C.j1331(a).Thiscourtalsohassupplementaljurisdiction
    ptlrsuantto28U.S.C.j1367(a).
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   c    %




                       4.      ThisCourthaspersonaljurisdiction overDefendantbecauseDefendantisa
                Virginialimited liability company thatconductsand hasconducted ongoing and continuous

                businessin the Comm onwea1th ofVirginiaandtheW estern DistrictofVirginia,andbecause

                Defendantis subjectto jurisdiction tmderVirgirlia Code j 8.01-328.1. By its physical
                presencein Virginia,Defendanthasengaged in businessdealingsand hascontracted with
                persons and entities in V irginia and this District. D efendant has pup osefully directed its

                business activities tow ard V irginia and this District. Through its conduct,D efendant has

                purposefully availed itself of the privileges of conducting business in V irginia and this

                District. W hileengaging in itsconduct,itwasreasonably foreseeablethatDefendantwould

                besubjectedtothisCourt'sjtlrisdiction.
                       5.      VenueisappropriateinthisCourtptlrsuantto 28U.S.C.j1391(b)and (c)in
                thatDefendantissubjecttopersonaljurisdiction inthisDistrict.VenueinthisCourtisalso
                appropriatebecause a substantialpartofthe eventsorom issionsgiving rise to VIP'sclaim s

                againstDefendantoccurred in the cities orcountiesconstitm ing the Harrisonblzrg Division.

                                               FA CTU AL BA CK GR OU N D

                                          VIP'S HCABINET SA FF#X''Trademark

                       6.      Atalltim essince atleastas early asJtm e,1,2008,V IP hasbeen in business

                ih theUnited Statesm anufacturing,selling,and/orm arketing molded orlaminatedplastic

                film linersto protecthousehold orindustrialstlrfacesagainstleaksand spillsandhasata11

                tim es refen'
                            ed to and m arketed said plastic film linerstm derthe nnm e ççcabinetSavers.''

                       7.      V IP ownsU .S.Tradem ark Registration N o.5,426,605 foruse ofthe nnm e

A
WToTLD
     -sRv
        OG
         sEvu
           RSPa
              Lw
               C ''CABm ET sAvERs,''whichwasfiledwiththeUnited StatesPatentandTrademark Office
                on July 14,2017.TheU SPTO issued aRegistration Certiticateto VlP on thePrincipal


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    Registeron M arch 20,2018.A copy oftheregistration certificateforVIP'sCABINET

    SAVERStrademark(the(CVIPM ark'')isattachedheretoandincorporatedhereinby
    referenceasExhibitA.V1P'sfederaltradem ark registration givesVlP theexclusiveright

    to usetheV1P M ark throughouttheUnited Statesin connection with,interalia,plasticfilm

    liners.

              8.     VIP advertisesand marketsitsplasticfilm linerswith theVIP M ark through,

    nmong othercharmels,brochures,tradeshows,andtheinternet,and directly to custom ers.

    Since2008,VP hasspentsubstantialsllmsin advertising andm arketing itsplastic film

    linerswith theVP M ark in theUrlited States.

              9.     Asillustratedbelow in two screenshotsfrom V1P'sCabinetSaversw ebsiteyl

    theVIP M ark servesto identify anddistinguish VIP'splastic tilm linersfrom thoseofothers

    andto indicatethesource,origin,sponsorship and affiliation ofVIP'sCabinetSavers.

    Through itsadvertising,m arketing,and sales,VIP hasdeveloped substantialgoodwillin the

    V 1P M ark.




    1he r//-       .cabinetprotectors.com (lastvisitedSeptember7,2018).Notably,V1Pprovides
    a notice on thehom epage ofitsw ebsite that(tcabinetSavers(A)isa federally registered
    tradem ark ofV irginia IndustrialPlastics,Inc. A 1lR ightsReserved.''
                                                   3
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                          (* uf

                         CabinetSaverLLC'SIkfringementof Ff#'
                                                            J'GCABINETSA FF#5'''Trademark
                          10.    ln orarotmd 2018,V1P lenrnedthatDefendantwasoperating tmderthenam e

                 ttcabilletSaverLLC.'' VlP furtherlearned thatDefendantwasmanufacturing an altenAative

                 to V IP's plastic film liners,and w asadvertising,m arketing,and selling fhe com peting liner
                                                                                 ,




                 tmderthenameofSGcabinetSaver''(theççlnfringingM ark'').
                          11. lndeed,Defendant'sownwebsite(https://cabinet-saver.com)effectively.
                 copiestheVIP M ark.
                          12.    The V IP M ark and V IP'sproductand D efendmlt'slnfringi
                                                                                       ..jng M ark and
                                                                                       '

                 producfqre shown below through screenshotsofeach party'srespectivewebsites.z
                     .




                         VP 's M ark and the Cabinet Savers          Defendant'slnfringing M ark and Com peting
                                                                                       Liner

                                                                  (-    à *
                                                                          o                      z
                                                                                                                   t
                                                                                                                 * '
                                                                                                                   1
                                                                                                                   1



WOODSROGERSPLC
ATTORZ
     NEYSATLAW


                 2Thescreenshotsaretakenfrom Plaintiff'swebsite,hdp://- .cabinetprotectors.com (last
                 visitedSeptember7,2018),andDefendant'swebsite,https://cabinet-saver.com (lastvisited
                 September7,2018).
                                                                 4
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                                                                                 CACINEtSAVER
                                                                                         VIEW AkL




                  13.        Defendant'sdescription ofitsplastic liner publicly available on its

    w ebpage- isvirtually indistinguishablefrom V1P'sdescription ofitsCabinetSaverson

    VIP'swebpage'
                .
                                                '
         .
    V IP'j D escription ofthe C abinetSavers:3
                  '
                  . . ..        ' .
              .

    WHATcàxcàBlyèTF&vERsDo?
    CabinetSë
            tMersîsacabfnettinerdesignèdtoproiectkitchqn.
                                                        sinkcabinetantbathroom vanitybnsebtardsfromwaterdamaye.motdand
    chemicat/deanïngproductspitlstalns'
                                      .Ftus,vzithit
                                                  .
                                                  su'
                                                    n'
                                                     lquechqnnetdesi
                                                                   gnandthefntegrateddroinccneïtetscprovideswatert
                                                                                                                 eakwarningsto
    prevenfmilo'r''
                  gushers'anddamage' t6the'
                                          hous'
                                              ehotd.ltsifeguàrdsthapropertyoBmer'sassetinvestmentr'
                                                     .                                            /lthasimpl
                                                                                                           e,towcostsotutionwhich
    PI-
      ovidis:jrqatReturn'oriIl
          .                  westyent;  .                ''

    Dei'
       endaùt'sDèscription o'
                            fitsplasticIin'
                                          er:4

    3hlp://-               .cabinetprotectors.coe ome.html(lastvisited September7,2018).
    4hlps://cabhet-saver.coe collections/gontpage/products/cabinet-saver(lastvisited
    September7,2018).
                                                                5
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n




         The CabinetSaver'FM isa w atertighttr'ay clesigned to protect
         yourkitchen sink base cabinet,fi-om plum bing and cieaning
         productlealtsand spitls. CabinetSavelTM isengineered w ith
                                                     -


         '
         qow-forvvard technologyw hich channelsa(lwatertothefront
         ofthe tray foreasy detection. CabinetSaverozisfta ible
         enough foreasy instatlation butrigpd enough to suppor-tallof
         yourcleaning products.

               14.    U pon inform ation and belief,D efendantadvertises and m arketsitsplastic

        linerthroughitswebsite(hûps://cabinet-saver.com).
               15.    In addition,upon inform ation and belief,Defendantfeatlzresand promoies

        theInfringing M ark and plasticlineronproductpages,displaysand/orpackaging.
               16.    V lP has notlicensed the V IP M azk to Defendant. N orhas V lP consented to

        DefendM i'suseèftheVlP M ark.
                           .t      '' :. '                                  '

               17.    Custom ersofVIP havç confused and willcoptinueto cpnfllseDefendant's

        w'
         ebsiteasselling VIP products.
                                     '.
                     . .



               18.
               .      On July 16,.2018,cotm selforVIP notitied representativesofDefendantofits

        infringem entoftheVIP M ark. To date,DefendanthascontinuedusingtheVIP M ark.

                                             CO U NT I
                                   TR ADEM A R K IN FW N G EM ENT
                                             (AgainstDefendant)
                                              (15U.S.C.j 1114)
                      V1P reallegesand incorporatesby referencetheallegationssetforth in the

        foregoing paragraphs,inclusive,asiff'ully setforth herein.

               20.    V 1P ownsU .S.Registration N o.5,426,605 forthe V IP M ark w hich was

        issued on thePrincipalRegisterby theUnited StatesPatentand Tradem ark oftk eon M arch

        20,2018,andVIP hasused andcontinuestousetheV1P M ark in connection with its

        specified goodsin interstate com m erce.
                                                         6
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           21.     TheV1P M ark isinherently distinctiveand/orhasacquired secondary

    m eaning,and theV IP M ark hasbeen and willcontinueto beknownthroughouttheUnited

    Statesasidentifying and distinguishing VIP'splastic film liners.

           22      W ithoutauthorization ortheconsentofVIP,Defendantoperatesunderthe

    name SçcabinetSaverLLc '- virtually identicalto the VP M ark- andusesthatnnm eto

    identify Defendant'sproductsthatare in directcompetitionwith VIP. Defendant'suseof

    the Infringing M ark w as and is in com m erce and in cozm ection with the sale,offering for

    sale,distribution,oradvertising ofgoods,a1lin am nnnerthatislikely to causeconfusion,or

    to causem istake,orto deceive.

           23. ThroughDefendant'sInfringingM ark,Defendanthasoffeledand/orsold
    goodsto consum ers in a m nnnerthatis likely to cause confllsion,and in a m nnnerthathas,

    in fact,caused confusion w ith the V IP M ark.

           24.     Evidenceofactualconfusion isreflected in actualrem arksby customersof

    VP thattheybelieved Defendant'swebsite sellsVIP products.

           25.     By usingtheInfringing M ark forprofitwithoutVIP'sauthorization or

    consent,DefendantisdeprivingV1P ofitsexclusiverightto control,and benefitfrom ,the

    VP M ark. Ifpermitted to continue,Defendant'sactionswillnullify V1P'srightto the

    exclusiverightofthe V IP M ark,free from infringem ent.

           26.     D efendant'suse ofthe VIP M ark constitutestradem ark infringem entin

    violationofj32 oftheLnnhnm Act,15U.S.C j1114.
           27.     B y reason ofand asa directand proxim ate resultofD efendant'stradem ark

    infringem ent,D efendanthas caused dam age to V IP'sbusiness,reputation and goodw ill

    and/orhasdivertedbusinessand salesfrom VIP to Defendant.V1P isentitledto recover


                                                     7
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    Defendant'sprofits,dnmagessuffered by VIP and the costsoftheaction,and/orstatutory

    dnmagesfortheuseofthemark in lieu ofdmnagesand profits.

           28.    D efendanthas continued using the Inginging M ark forprofitdespite V 1P

    notifying Defendantofitsinfringing actikity.Accordingly,Defendanthasknowingly,

    willfully,deliberately,and m aliciously used the VIP M ark with theintentto cause confusion

    andmistakeandtodeceive.VIP isthereforeentitledtoajudgmentoftllreetimesits
    dnm ages and D efendant's ill-gotten profits,togetherw ith reasonable attorneys'fees,

    ptlrsuantto 15U.S.C.j1117.
           29.    V1P hasbeen,and continuestobe,dnm aged by Defendant'sactivitiesand

    conduct,andunlessDefendant'sconductisenjoined,V1P'sreputationandgoodwillwill
    continueto sufferirreparableinjurythatcannotadequatelybecalculatedorcompensatedby
    moneydn'
           mages.'Accordingly,VIP isentitledtoinjunctivereliefptlrsuantto 15U.S.C.j
    1116(a).
                                         CO U N T 11
                      FA LSE A SSO C IA TIO N/FA LSE EN D O R SE M EN T
                                        (AgainstDefendant)
                                       (15U.S.C.j1125(a))
           30.    VIP reallegesand reincorporatesby referencethe allegationssetforth in the

    foregoingparagraphs,inclusive,asiff'
                                       ully setforth herein.

           31.    Defendant'suseofthe Infringing M ark asitsbusinessentitynnm eand on its

    product,webpage,and marketingm aterials,assetforth above,constitutesfalseassociation

    and/orfalseendörsementinviolationofj43(a)oftheLanhnm Act,15U.S.C.j1125(a).
           32.    D efendant'suse ofthe V IP M ark to identify its business nnm e and to offer '

    goods for sale through itsw ebpage are likely to create custom erconfusion concelnling V1P's



                                                    8
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    endorsem entof,sponsorship of,approvalof,and/oraffiliation with Defendant'sbusiness,

    webpage,and products.

           33.     By reason ofand asadirectandproxim ate resultofDefendant'sfalse

    association and falseendorsem ent,Defendanthascaused dam agetoVIP'sbusiness,

    reputation,and goo'
                      dwilland/orhasdiverted businessand salesfrom V1P to Defendan't. V IP

    is entitled to recover Defendant'sprofits,dnm ages suffered by V IP and the costs ofthe

    actl
       -on.

           34.     D efendant's acts offalse association and false endorsem enthave been

    com m itted know ingly,w illfully,deliberately and m aliciously w ith the intentto cause

    confllsion andmistakeandtodeceive.Accordingly,VIP isentitledto ajudgmentoftllree
    tim esitsdnmagesand Defendant'sill-gdtten profits,togetherwith reasonableattorneys'

    fees,ptlrsuantto 15U.S.C.j 1117.
           35.     By reason ofand as a directand proxim ate resultofDefendant'stm law ful

    actsand practices,includingthose setforth above,Defendanthascaused,iscausing,and

    unlesssuchactsandpracticesareenjoinedbytheCourt,willcontinuetocause,immediate
    and irreparableharm toVIP,forwllich thereisno adequaterem edy atlaw ,and forwhich

    VP isentitledtoinjllnctiverelief.
                                        C O U NT III
                   FA LSE D ESIG N A TION O F SO UR CE AN D /O R O R IG IN
                                         (AgainstDefendant)
                                        (15U.S.C.j 1125(a))
           36.     V IP repeats and reincop oratesthe allegationsasserted in each ofthe

    preceding pr agraphs,asiff'ully setforth herein.

           37.     Defendant'sactions,assetforth above,constitutefalse designation ofsotlrce

    ancfororigin inviolation ofj43(a)oftheLnnham Act,15U.S.C.j1125(a).

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           s.         ':




                  .               38.    By appropriatingVIP'sM ark foruse asabusinessentity selling productsin

                           directçompetition with VIP,Defendanthasattem ptedto confuseconsum ersintofalsely

                           believingthat:(1)DefendantsellsVP products,(2)customerscanpurchaseVIPproducts
                           onDefendant'swebsite,and(3)Defendantactswith oronbehalfofVIP.
                                  39.    Defendant'sconductislikelyto create- and in facthascreated- custom er

                           confusion and/ormistake,to deceiveconsllm ersasto thesotlrceandorigin ofany and a11

                           goodsoffered by Defendanton which DefendantusestheInâinging M ark to designate,

                           advertise,and marketitsproducts.

                                  40.    By reason ofand asadirectandproxim ateresultofDefendant'sfalse

.                          designation ofsource and origin,Defendanthascaused damageto VIP'sbusiness,

    '                      reputation,andgoodwilland/orhasdivertedbusinessandsalesikom VIPtoDefendant.VIP            '
                           is'entitled to reèbverD efendant'sprofits,dam ages suffered by V IP and the costs ofthe

                           action.

                                  41.
                                    '    Defendant'sactsoffalsedesignation and solzrcehasbeen com mitted

                           knowingly,willfully,deliberately and maliciously with theintentto cause confusion and

                           mistakeandtodeceive.Accordingly,VIP isentitledtoajudgmentoftlzreetimesits
                           damagesandDefendant'sill-gotten profks,t.ogetherwith reasonâbleattorneys'fees,

                           p'ursuantto 15 U .S.C'.j 1117.

                                  42.    By reason ofand asa directand proxim ate resultofD efendant'sunlanrful

                           âctsandpractices,includingthosesetforth above,Defendanthascaused,iscausing,and

                           tmlesssuch actsàndpracticesareenjoinedbytheCourt,Wi11continuetocause,immediate
.       W 00DsROGERSPLC
    .   m o- vsvuAw        and inéparableharm to VP ,forwhich thereisno adequateremedy atlaw,and forwhich

                           VIP isentitledtoinjlmctiverelief.


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                                            CO U NT IV
                                     U N FM R C O M PE TITIO N
                                         (AgainstDefendant)
                                           (Common Law)
              43.   V IP repeatsand reincorporatesthe allegationsasserted in each ofthe

     preceding paragraphs,as iffully setfol'
                                           th herein.

              44.   Defendant'sactions,asalleged herein,constitutecom m on 1aw trademark

     infringem entand unfaircom petition.

              45.   V1P hasno adequaterem edy atlaw and issuffering irreparableharm .

              46.   Defendant'sconducthascaused dnm agesto VIP'sbusiness,reputation,and

     goodwillin an nm otmtto bedetermined attrial.

                                      PM YE R FO R R ELIEF

              WHEkEFORE,VirginiaIndustrialPlastics,Inc.praysthatthisCotu'
                                                                        tenterjudgment
     in its favoragainstD efendantasfollow s:

              A.    ThatthisCourtenteratemporaryrestrainingorder,preliminaryinjunction
     andpermanentinjunctionrestrainingand enjoiningDefendant,itsofficers,directors,
     employees,agents,successors,and assigns,and any and a11personsin activeconcertor

     participation with any ofthem ,from continuing to use to the Infringing M ark,the V lP M ark,

     orany othermark likely tocauseconfusion withtheVIP M ark.

              B.    ThatthisCourtenteran orderrequiringDefendantto accountforandpay to

     V1P a11profitsderived from thesale,distribution orlicensing ofcom peting VlP products

     whileusingthelnfringingM arkinviolationofVtp'srights.
                    Thatthis Courtenteran orderrequiring D efendantto issue a form alpublic

     retraction and engage in corrective advertising to rectify theirim properuse ofthe Infringing

     M ark.

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                           D.      ThatthisCourtenteran orderrequiring Defendantto imm ediately shutdown        .

                    itsw ebsite,https://w w m cabinet-saver.com or,in the alternative,to transferownership of

                    said w ebsite to V IP.

                           E.      ThatthisC otu'tenteran orderrequiring D efendantto perm anently cease from
                                             .




                    operating tmderthebusinessnam eGtcabinetSaverLLC.''

             .             F.      Thatthis Courtaw ard V IP dnm ages againstD efendantin an am otmtto be

                    determ ined att'
                                   rial.

                           G.      That,given the w illfulnattzre ofD efendant's actions,this Courtenter

.
                    judgmentptlrsuantto 15U.S.C.j 1117inan nmotmttoincludeDefendant'sprofitsderived
                    f'
                     rom itsviolationsofVIP'srights,andthreetim esthe damagesstlstained by VIP,or

                    statutory dnm agej forthe use ofthe m ark in lieu ofdnm ag
                                                                             'esand profits.

                           H.      '
                                   that,given thewillfulnatureofDefendant'sactions,thisCourtaward VIP
                    purlitive dnm agesagainstD efendantin an am ountto be determ ined attrial.

                           1.      ThatV1P beawardedpre-judgmentandpost-judgmentinterestonany
                    dnm ageaward.

                           J.      ThatV1P be awarded itsreasonableattorneys'fees,costsand expenses

                    incurredinbringingthisactionpursuantto 15U.S.C.j 1117(a),orasotherwisepelnnitted
                    by law .

                           K.      ThatDefendantberequiredtoserveonVIP withintllirty (30)daysafterthe
                    issuànceofanyinjtmction,awrittenreporttmderoathsettingforthin detailthemnnnerand
                    form in whichDefendanthascompliedwiththisinjunction.
    Arromxm v uAw          L.      ThatV lp.be aw arded such furtherrelief asthe Courtm ay deem appropriate.




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       JURY TRIAL IS DEM ANDED ON ALL M ATTERS AND ISSUES TRIABLE BY A
                                    JU RY

     Dated:September12,20.18                   Respectfully Submitted,

                                               /s/N athan A.Evans
                                               NathanA.Evans(VSB No.46840)
                                               CharlesJ.Diçkenson ('VSB No.92889)
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                                               123 EastM ain St.
                                               Fifth Floor
                                               Charlottesville,V A 22902
                                               Phone:(434)-220-6829
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                                               cdickens@ woodsrogers.com
                                               CounselforPlaintt virginiaIndustrial
                                               Plastics,Inc.




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